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                            UNITED STATES DISTRICT COURT
                                T H E DISTRICT O F COLUMBIA

                                   Holding a Criminal Term

                            Grand Jury Sworn in on May 21, 2014



 UNITED S T A T E S OF A M E R I C A                    CRIMINAL NO.


                                                        21 U.S.C. § 959(a), 960, and 963
     EVERILDO GALVEZ                                    (Conspiracy to Distribute Five Kilograms
 AZANON,                                                or More of Cocaine, Intending and
         also known as                                  Knowing that the Cocaine Will Be
         "Comandante,"                                  Unlawfully Imported into the United States)
         "Commander," "Rhony
         Diaz," and    R,"                              21 U.S.C. § 853 and 970
                                                        (Forfeiture)
              Defendant.




                                         INDICTMENT

       The Grand Jury charges that:

                                          COUNT ONE

       From in or around January 2007, continuing thereafter, up to and including the time of the

filing of this Indictment, the exact dates being unknown to the Grand Jury, in the countries of

Colombia, Guatemala, Honduras, Mexico, and elsewhere, the Defendant, RONI E V E R I L D O

G A L V E Z AZANON, also known as "Comandante," "Commander," "Rhony Diaz," and

R," and others known and unknown to the Grand Jury, did knowingly and willfully combine,

conspire, confederate and agree with other persons, known and unknown to the Grand Jury, to

distribute a controlled substance in Schedule II, intending that such controlled substance would be

unlawfully imported into the United States, in violation of Title 21, United States Code, Section
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959(a)(2); all in violation of Title 21, United States Code, Section 963.

       With respect to the Defendant, the controlled substance involved in the conspiracy

attributable to him as a result of his own conduct, and the conduct of other conspirators reasonably

foreseeable to him, is five (5) kilograms or more of a mixture and substance containing a detectable

amount of cocaine, in violation of Title 21, United States Code, Sections 963 and 960(b)(1)(B).

               (Conspiracy to Distribute Five Kilograms or More of Cocaine,
               Intending and Knowing that the Cocaine will be Unlawfully
               Imported into the United States, in violation of Title 21, United
               States Code, Sections 959, 960, and 963)

                                 FORFEITURE ALLEGATION

       The violations alleged in Count One are realleged and incorporated by reference herein.

As a result of the offenses alleged in Count One of this Indictment, the Defendant, RONI

E V E R I L D O G A L V E Z AZANON, also known as "Comandante," "Commander," "Rhony

Diaz," and      R," shall forfeit to the United States, pursuant to Title 21, United States Code,

Sections 853 and 970, any and all respective right, title or interest which the defendant may have

in (1) any and all money and/or property constituting, or derived from, any proceeds which such

defendant obtained, directly or indirectly, as the result of the violations alleged in Count One of

this Indictment; and (2) any and all property used, in any manner or part, to commit, or to

facilitate the commission of, the violations alleged in Count One of this Indictment.

       I f any of said forfeitable property, as a result of any act or omission of the defendant:

               (a) cannot be located upon the exercise of due diligence;

               (b) has been transferred or sold to, or deposited with, a third party;

               (c) has been placed beyond the jurisdiction of the Court;

               (d) has been substantially diminished in value; or

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               (e) has been commingled with other property which cannot be subdivided without

               difficulty;

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of the Defendant up to the value of the above forfeitable

property.

                             (Criminal Forfeiture, in violation of Title 21,
                              United States Code, Sections 853 and 970)


                                                        A TRUE BILL:



                                                        Foreperson




                                                              ICR
                                                        Chief
                                                        Narcotic and Dangerous Drug Section
                                                        U.S. Department of Justice
                                                        Washington, D.C. 20530


                                                By:
                                                       MICHAEL
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